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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            WESTERN DIVISION


 UNITED STATES SECURITIES
 AND EXCHANGE COMMISSION,

                             Plaintiff,           Case No. 3:21-cv-50371


                      v.

 NASEEM MOHAMMED SALAMAH,
                Defendant.


                      FINAL JUDGMENT AS TO DEFENDANT
                        NASEEM MOHAMMED SALAMAH

       The United States Securities and Exchange Commission having filed a Complaint

and Defendant Naseem Mohammed Salamah (“Defendant”) having entered a general

appearance; consented to the Court’s jurisdiction over Defendant and the subject matter

of this action; consented to entry of this Final Judgment; waived findings of fact and

conclusions of law; and waived any right to appeal from this Final Judgment:

                                             I.

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating Section 17(a) of the Securities Act of

1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the offer or sale of any security by the

use of any means or instruments of transportation or communication in interstate

commerce or by use of the mails, directly or indirectly:

       (a)    to employ any device, scheme, or artifice to defraud;

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          (b)   to obtain money or property by means of any untrue statement of a material

                fact or any omission of a material fact necessary in order to make the

                statements made, in light of the circumstances under which they were

                made, not misleading; or

          (c)   to engage in any transaction, practice, or course of business which

                operates or would operate as a fraud or deceit upon the purchaser.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

following who receive actual notice of this Final Judgment by personal service or

otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)

other persons in active concert or participation with Defendant or with anyone described

in (a).

                                              II.

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating, directly or indirectly,

Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. §

78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any

means or instrumentality of interstate commerce, or of the mails, or of any facility of any

national securities exchange, in connection with the purchase or sale of any security:

          (a)   to employ any device, scheme, or artifice to defraud;




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          (b)   to make any untrue statement of a material fact or to omit to state a material

                fact necessary in order to make the statements made, in the light of the

                circumstances under which they were made, not misleading; or

          (c)   to engage in any act, practice, or course of business which operates or

                would operate as a fraud or deceit upon any person.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

following who receive actual notice of this Final Judgment by personal service or

otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)

other persons in active concert or participation with Defendant or with anyone described

in (a).

                                              III.

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is permanently restrained and enjoined from violating Sections 206(1) and

206(2) of the Investment Advisers Act of 1940 (“Advisers Act”) [15 U.S.C. §§ 80b-6(1)

and 80b-6(2)] while acting as an investment adviser, by the use of the mails or any means

or instrumentality of interstate commerce, directly or indirectly:

          (a)   to employ any device, scheme, or artifice to defraud any client or

                prospective client; or

          (b)   to engage in any transaction, practice, or course of business which operates

                as a fraud or deceit upon any client or prospective client.



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          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the

following who receive actual notice of this Final Judgment by personal service or

otherwise: (a) Defendant’s officers, agents, servants, employees, and attorneys; and (b)

other persons in active concert or participation with Defendant or with anyone described

in (a).

                                             IV.

          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED

that Defendant is liable for disgorgement of $968,582 plus prejudgment interest of

$92,000, for a total amount of $1,060,582, which represents the net profits gained

as a result of the conduct alleged in the Complaint; and that $968,582.12 of the

total obligation is deemed satisfied by the $968,582.12 order of restitution entered

in United States v. Salamah, Case No. 3:21-cr-50047 (N.D. Ill.)

                                             V.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is

incorporated herein with the same force and effect as if fully set forth herein, and that

Defendant shall comply with all of the undertakings and agreements set forth therein.

                                             VI.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, for purposes

of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §

523, the allegations in the Complaint are true and admitted by Defendant, and further,


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any debt for disgorgement, prejudgment interest, civil penalty or other amounts due by

Defendant under this Final Judgment or any other judgment, order, consent order, decree

or settlement agreement entered in connection with this proceeding, is a debt for the

violation by Defendant of the federal securities laws or any regulation or order issued

under such laws, as set forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C.

§523(a)(19).

                                             VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of this Final

Judgment.

                                            VIII.

       There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules

of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith and

without further notice.




Dated: July 6, 2022                        ________________________________
                                           UNITED STATES DISTRICT JUDGE




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